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*
ROBERT W. PERRIN,
Plaintiff`,
v. Civil No. 1311-cv'01896'BEL
PHILIP J. SCHROEDER, M.D.

Defendant.

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*************'k**************************************************************'k

 

The parties, by their respective undersigned counsel, stipulate and agree that
this action shall be, and hereby is, DISMISSED WITH PREJUDICE. Outstanding

costs shall be paid by the Defendant.

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Attorneys for Defendant

 

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GEORGE L. RUSSELL. lll. U.S.DJ.

 

